Case 1:07-cr-00037-JPJ Document 141 Filed 12/07/09 Page 1 of 15 Pageid#: 427




                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

                                            )
UNITED STATES OF AMERICA,                   )   Case No. 1:07CR00037
                                            )
                                            )
v.                                          )   OPINION AND ORDER
                                            )
                                            )
LONNIE EDWARD MALONE,                       )   By: James P. Jones
                                            )   Chief United States District Judge
             Defendant.                     )

      Zachary T. Lee, Assistant United States Attorney, Abingdon, Virginia, for the
United States; Lonnie Edward Malone, Pro Se Defendant.

      The defendant, a federal inmate, brings this motion to vacate, set aside, or

correct sentence pursuant to 28 U.S.C.A. § 2255 (West Supp. 2009). Upon review

of the record, I find that the government’s motion to dismiss must be granted in part

because the defendant waived his right to collaterally attack his sentence. However,

because his claim that counsel failed to file a notice of appeal after being asked to do

so is not barred by his waiver of § 2255 rights and requires further factual

development, the government’s motion must be denied as to that claim.
Case 1:07-cr-00037-JPJ Document 141 Filed 12/07/09 Page 2 of 15 Pageid#: 428




                                              I

       A grand jury of this court returned a six-count indictment against Lonnie

Edward Malone on June 5, 2007, charging him with distribution of crack cocaine,

methamphetamine, possession of firearms in furtherance of a drug trafficking offense,

and related offenses. Malone retained attorney Barry Proctor to represent him in

these matters.     Sometime in August 2007, Proctor advised Malone that the

government was offering him an opportunity to plead guilty to Count One, the charge

that he had possessed a short-barreled shotgun in furtherance of drug trafficking,

which subjected Malone to a mandatory minimum sentence of ten years. When

Malone asked Proctor for advice about the plea offer, Proctor allegedly told him that

he would have to decide for himself whether to accept the offer, but failed to advise

him about the consequences of losing at trial as compared to the consequences of

accepting the plea offer.1 Malone now asserts that if counsel had more fully

explained the strength of the government’s case against him, he would have accepted

that first agreement. Sometime after Malone rejected that first plea offer, the grand



       1
          In his affidavit offered in support of the government’s motion to dismiss, Proctor
states that he strongly encouraged Malone to accept this first plea agreement. He further
states that at Malone’s request, he discussed this plea offer with Malone’s son and daughter,
who also encouraged him to accept the plea offer based on Proctor’s advice. Proctor states
that until days before the scheduled trial date, Malone maintained that he wanted to have the
case tried.

                                            -2-
Case 1:07-cr-00037-JPJ Document 141 Filed 12/07/09 Page 3 of 15 Pageid#: 429




jury returned a superseding indictment which added Count Six, a charge of

conspiracy to distribute methamphetamine and crack cocaine.

      Shortly before the scheduled trial on the superseding indictment, Proctor

advised Malone of a second plea bargain, purportedly offering a 15-year sentence in

exchange for his pleading guilty to the gun charge and the drug conspiracy charge in

Count Six, involving 500 grams of methamphetamine. Because the ten-year statutory

mandatory minimum sentence for the gun charge had to run consecutive to all other

sentences and the drug charge carried a mandatory minimum of ten years as well,

however, the 15-year sentence offer on these charges was a legal impossibility.

      A subsequent third plea offer allowed Malone to plead to the gun charge and

to a conspiracy involving only 50 grams of methamphetamine, a lesser included

offense of the conspiracy charge in Count Six of the superseding indictment. The

reduced conspiracy charge subjected Malone to a mandatory minimum sentence of

only five years, making a 15-year minimum sentence possible for a guilty plea to

Counts One and Six. Proctor advised Malone that he ought to accept this plea

agreement, because at trial he would likely be convicted on all charges and be subject

to a much higher sentence. Proctor mentioned specifically that the government would

introduce testimony from individuals who had told police they had purchased large




                                         -3-
Case 1:07-cr-00037-JPJ Document 141 Filed 12/07/09 Page 4 of 15 Pageid#: 430




amounts of methamphetamine from Malone as well as evidence of the drugs, guns,

and over $53,000 in cash confiscated from Malone’s residence.

      Malone accepted the third plea agreement, allegedly believing that it

guaranteed him a 15-year sentence. Pursuant to this agreement, Malone pleaded

guilty on February 29, 2008, to a charge that he possessed a short-barreled shotgun

in furtherance of a drug trafficking crime, in violation of 18 U.S.C.A. § 924(c)(1)(A)

and (B) (West Supp. 2009) (Count One), and to a charge of conspiracy to distribute

50 grams or more of a mixture containing methamphetamine, in violation of 21

U.S.C.A. §§ 841(b)(1)(B) and 846 (West 1999 & Supp. 2009) (Count Six). In

exchange for the plea, the government moved to dismiss the other criminal charges

against Malone. Pursuant to paragraphs 8 and 9 of the plea agreement, Malone

waived his right to appeal and his right to collaterally attack “the judgment and any

part of the sentence imposed upon [him] by the Court.”

      Before accepting Malone’s guilty plea, I questioned him thoroughly to ensure

that his plea was knowing and voluntary. Malone indicated that he was 57 years old,

had completed the seventh grade in school, and could “read and write a little bit.”

(Plea Tr. 3, Feb. 29, 2008.) He denied that he had been treated in the past for

substance abuse, but stated that within the 24 hours before the plea hearing, he had




                                         -4-
Case 1:07-cr-00037-JPJ Document 141 Filed 12/07/09 Page 5 of 15 Pageid#: 431




taken his prescriptions, including a medication for depression and a sleeping pill. I

questioned Malone specifically about his ability to understand the proceedings:

       COURT:      Do any of these medicines that you’re taking affect your
                   ability to understand what’s going on here today?

       MALONE: I have trouble remembering things.

       COURT:      Well, the question, I guess, is can you understand what’s
                   happening today?

       MALONE: Yes.

       COURT:      What are we here for today?

       MALONE: For a plea bargain.

       COURT:      And are you presently under the influence of alcohol?

       MALONE: No.

       COURT:      And counsel, do you have any question or doubt as to your
                   client’s competency?

       COUNSEL: No, Your Honor, I do not.

(Id. 5.)

       Malone affirmed that he had had adequate time to discuss the superseding

indictment, the case, and the plea agreement with counsel and that he had initialed

each page of the plea agreement and signed it, indicating that he had read and

understood its terms.    He affirmed that he was fully satisfied with counsel’s



                                        -5-
Case 1:07-cr-00037-JPJ Document 141 Filed 12/07/09 Page 6 of 15 Pageid#: 432




representation. He then indicated that he understood the terms of the Plea Agreement

as summarized by the prosecutor. I specifically asked Malone if he understood the

provisions waiving his right to appeal and his right to bring a collateral attack under

§ 2255. He indicated that he did. He denied that anyone had tried in any way to force

him to plead guilty.

      I explained to Malone that until I considered the sentencing guideline range at

sentencing, there was no guarantee as to what his sentence would be, except that I

would be required to sentence him to at least 15 years in prison. Malone indicated

that he understood. I explained the rights Malone was waiving by pleading guilty and

the elements of the charge that the government would have to prove if he went to

trial. He indicated that he understood. The prosecutor then summarized the evidence

in support of the plea, with no dispute from Malone. When asked if he was pleading

guilty because he was in fact guilty of the conduct charged, Malone affirmed that he

was. Finding that Malone was competent and was entering his guilty plea in an

informed and voluntary manner, I accepted his guilty plea.

      Malone was sentenced on May 19, 2008. The presentence investigation report

(“PSR”) found that Malone’s base offense level for his drug offense under the

advisory sentencing guidelines was 36, recommended an enhancement of four levels

based on his leadership role in the conspiracy, and recommended a three-point

                                         -6-
Case 1:07-cr-00037-JPJ Document 141 Filed 12/07/09 Page 7 of 15 Pageid#: 433




reduction for acceptance of responsibility, for a total offense level of 37. With his

criminal history category of I, the PSR found that Malone’s sentencing range was 210

to 262 months.2 Neither party filed objections to the PSR. Attorney Proctor asked

the court to consider sentencing Malone to the mandatory minimum sentence of five

years on the drug charge, based on his age, his poor health, and in comparison to the

relatively lenient sentence imposed on his codefendant. I found no parallel with the

codefendant’s conduct and noted that Malone had not proven a legitimate source for

the large amount of cash seized from his home. I sentenced Malone at the bottom of

the guideline range to 210 months in prison on the drug charge, with a consecutive

sentence of 120 months on the firearms charge, for a total sentence of 330 months

imprisonment. He did not appeal.

       Malone filed this § 2255 motion in November 2008, raising a two-part claim:

       1. Counsel provided ineffective assistance

              a.     regarding the first plea bargain offered to him by the
                     government in September 2007; and

              b.     regarding the third plea agreement, offered to him by the
                     government in February 2008.




       2
          According to paragraph 60 of the PSR, if Malone had proceeded to trial on all
charges of the indictment, he would likely have faced a guideline range of 292 to 365 months
in prison on the drug charges alone.

                                            -7-
Case 1:07-cr-00037-JPJ Document 141 Filed 12/07/09 Page 8 of 15 Pageid#: 434




In March 2009, after the government moved to dismiss the initial § 2255 motion,

Malone submitted an amendment to his motion, raising these additional claims:

       2.     The defendant did not enter into the plea agreement knowingly
              and voluntarily because he was under the influence of medication
              during the plea hearing;

       3.     Counsel provided ineffective assistance because he:

              a.      coerced the defendant into agreeing to a guilty plea against
                      the defendant’s best interests, when the defendant was
                      under the influence of medication;

              b.      did not request an evidentiary hearing to require the
                      government to prove by a preponderance of the evidence
                      that the defendant was guilty of the firearms charge to
                      which he was pleading guilty;

              c.      did not object at sentencing on the ground that the
                      government did not present witness testimony or affidavits;

              d.      did not raise proper objections to the PSR or ask for an
                      evidentiary hearing regarding sentencing issues;

              e.      did not file a notice of appeal after the defendant asked him
                      to do so; and

              f.      did not file an interlocutory appeal of the denial of the
                      motion to suppress.3




       3
          Malone has submitted additional argument and authority in support of his claim that
counsel failed to file a notice of appeal. As this material relates back to his original, timely
filed claim, I will grant the amendment.

                                             -8-
Case 1:07-cr-00037-JPJ Document 141 Filed 12/07/09 Page 9 of 15 Pageid#: 435




The government made no response to any of Malone’s amended claims, relying solely

on the arguments raised in the earlier motion to dismiss. Malone has responded to the

government’s arguments, making the matter ripe for disposition.



                                          II

      To state a claim for relief under § 2255, a federal defendant must prove that

one of the following occurred: (1) His sentence was “imposed in violation of the

Constitution or laws of the United States”; (2) The “court was without jurisdiction to

impose such sentence”; or (3) The “sentence was in excess of the maximum

authorized by law, or is otherwise subject to collateral attack.” 28 U.S.C.A § 2255(a).

In a § 2255 motion, the defendant bears the burden of proving grounds for a collateral

attack by a preponderance of the evidence. Miller v. United States, 261 F.2d 546,

547 (4th Cir. 1958).

      It is settled circuit law that a “criminal defendant may waive his right to attack

his conviction and sentence collaterally, so long as the waiver is knowing and

voluntary.” United States v. Lemaster, 403 F.3d 216, 220 (4th Cir. 2005). Whether

the waiver is knowing and intelligent depends “upon the particular facts and

circumstances surrounding that case, including the background, experience and

conduct of the accused.” United States v. Davis, 954 F.2d 182, 186 (4th Cir. 1992)

                                         -9-
Case 1:07-cr-00037-JPJ Document 141 Filed 12/07/09 Page 10 of 15 Pageid#: 436




(quoting Johnson v. Zerbst, 304 U.S. 458, 464 (1938)). When a defendant alleges

that ineffective assistance of counsel caused the guilty plea itself to be unknowing or

involuntary, analysis of such claims must be part of the court’s inquiry into the

validity of the guilty plea and the plea agreement waiver of § 2255 rights. See, e.g.,

Lemaster, 403 F.3d at 221-22; Jones v. United States, 167 F.3d 1142, 1145 (7th

Cir.1999) (“Justice dictates that a claim of ineffective assistance of counsel in

connection with the negotiation of a cooperation agreement [waiving § 2255 rights]

cannot be barred by the agreement itself—the very product of the alleged

ineffectiveness.”). See also Hill v. Lockhart, 474 U.S. 52, 53-59 (1985) (finding that

court may address ineffective assistance claims bearing on validity of guilty plea,

even concerning matters that would ordinarily be waived by entry of plea).

      The court’s waiver analysis must focus first on the defendant’s statements

during the plea hearing. “[I]n the absence of extraordinary circumstances, the truth

of sworn statements made during a Rule 11 colloquy is conclusively established, and

a district court should . . . dismiss any § 2255 motion that necessarily relies on

allegations that contradict the sworn statements.” Lemaster, 403 F.3d at 221-22. If

the court determines that the defendant’s allegations, viewed against the record of the

Rule 11 plea hearing, are so “palpably incredible, so patently frivolous or false as to

warrant summary dismissal,” the court may dismiss the § 2255 motion without a

                                         - 10 -
Case 1:07-cr-00037-JPJ Document 141 Filed 12/07/09 Page 11 of 15 Pageid#: 437




hearing. Id. at 220 (internal quotations and citations omitted). After determining

that statements made during the plea hearing indicated that the defendant had entered

a valid guilty plea and waiver of his § 2255 rights, the court in Lemaster addressed

the defendant’s ineffective assistance claims only to the extent that they had some

alleged bearing on the validity of the plea. Id. at 222-23. The court found that the

defendant’s allegations contradicted his sworn statements at the plea hearing and,

accordingly, upheld the validity of the § 2255 waiver and dismissed all claims as

waived. Id. at 223.



                                         III

      Malone’s statements under oath during the guilty plea hearing support a finding

that his plea was valid. His statements gave every indication that he understood the

proceedings, the elements of the charges, the evidence against him, the potential

sentences he faced, and the consequences of his plea and plea agreement, including

his waivers of his right to appeal and his right to bring this collateral attack under

§ 2255. I find now, as I did then, that his guilty plea and his waivers were knowing

and voluntary and therefore, valid. Lemaster, 403 F.3d at 221-22.

      In Claims 1(a), 1(b), 3(a), and (f), Malone asserts that his counsel’s

incompetent advise about the government’s plea offers and counsel’s failure to file

                                        - 11 -
Case 1:07-cr-00037-JPJ Document 141 Filed 12/07/09 Page 12 of 15 Pageid#: 438




an interlocutory appeal of the court’s denial of his motion to suppress caused his

guilty plea and his waiver of § 2255 rights to be unknowing and invalid. These

claims are based on assertions directly contradicted by Malone’s statements to the

court, however. Malone stated at the guilty plea hearing that he was fully satisfied

with counsel’s representation. He did not mention any dissatisfaction with counsel’s

advice regarding the first plea agreement or counsel’s failure to appeal the

suppression ruling. Malone clearly indicated that no one had “forced” him to plead

guilty and that he was pleading guilty voluntarily, because he was actually guilty and

believed the plea agreement to be in his best interest. His responses during the plea

hearing gave no indication that his medications interfered with his ability to

understand any element of the proceedings, as he now alleges. As Claims 1(a), 1(b),

3(a), and (f) are in direct contradiction of Malone’s testimony during the plea hearing,

under oath, I find these claims to be “palpably incredible” so as to warrant summary

dismissal. Id. at 220.

      Malone’s Claim 1, that he was incompetent to plead guilty, is also incredible

in light of his behavior and statements of understanding during the plea hearing and

must be summarily dismissed under Lemaster. Id. Moreover, Malone’s claims of

ineffective assistance as to sentencing issues have no bearing on the validity of his

guilty plea or his plea agreement waiver of the right to bring this § 2255 motion.

                                         - 12 -
Case 1:07-cr-00037-JPJ Document 141 Filed 12/07/09 Page 13 of 15 Pageid#: 439




Accordingly, I find that the waiver is valid and bars further review of the following

claims: 1(a), 1(b), 2, 3(a), 3(b), 3(c), 3(d), and 3(f). I will dismiss these claims as

waived.



                                          IV

      It is well established that “a lawyer who disregards specific instructions from

the defendant to file a notice of appeal acts in a manner that is professionally

unreasonable.” Roe v. Flores-Ortega, 528 U.S. 470, 477 (2000). “[A]n attorney

renders constitutionally ineffective assistance of counsel if he fails to follow his

client’s unequivocal instruction to file a notice of appeal even though the defendant

may have waived his right to appeal.” United States v. Poindexter, 492 F.3d 263, 273

(4th Cir. 2007). Moreover, the defendant may raise such a claim in a § 2255 motion

despite having pleaded guilty pursuant to a plea agreement that included a waiver of

§ 2255 rights. Id. at 272. Under this precedent, if Malone can prove his allegation

that he communicated a request to counsel for a notice of appeal, he is entitled to

§ 2255 relief in the form of a new opportunity to appeal his criminal sentence.

Furthermore, because Malone’s sole claim falls outside the scope of his plea

agreement waiver of § 2255 rights, I find that the government’s waiver argument is




                                         - 13 -
Case 1:07-cr-00037-JPJ Document 141 Filed 12/07/09 Page 14 of 15 Pageid#: 440




without merit as to this claim. I will deny the motion to dismiss and set the matter for

an evidentiary hearing.



                                           V

      For the stated reasons, it is ORDERED as follows:

      1.     The defendant’s Motion to Amend/Supplement (Dkt. No. 140) is

             GRANTED and the motion to vacate, set aside, or correct

             sentence pursuant to 28 U.S.C.A. § 2255 is amended as stated;

      2.     The motion to dismiss is GRANTED IN PART AND DENIED IN

             PART;

      3.     The motion to dismiss is DENIED as to the defendant’s claim that

             counsel failed to file a notice of appeal after being requested to do

             so and the motion to dismiss is GRANTED as to all other claims;

      4.     The clerk shall schedule an evidentiary hearing in the United

             States Courthouse in Abingdon, on the sole claim that the

             defendant asked his attorney to file a notice of appeal and the

             attorney failed to do so, and if possible shall arrange for the

             defendant to participate in the proceeding via videoconferencing;

             and

                                         - 14 -
Case 1:07-cr-00037-JPJ Document 141 Filed 12/07/09 Page 15 of 15 Pageid#: 441




       5.     The clerk shall arrange for the appointment of counsel to

              represent the defendant in this § 2255 action, pursuant to 18

              U.S.C.A. § 3006A(a)(2)(B) (West 2000 & Supp. 2009).4

                                                    ENTER: December 7, 2009

                                                    /s/ JAMES P. JONES
                                                    Chief United States District Judge




       4
          In the alternative, within ten days from entry of this order, the government may
request that, in the interest of judicial economy and without conceding that counsel was
ineffective as alleged, the court should grant petitioner a renewed opportunity to appeal his
conviction and sentence.

                                           - 15 -
